                                   Case 1:21-cv-01707-JPW Document 1-2 Filed 10/06/21 Page 1 of 4

                                                          Exhibit A to the Complaint
Location: Harrisburg, PA                                                                            IP Address: 152.208.62.120
Total Works Infringed: 27                                                                           ISP: Verizon Internet Services
 Work      Hashes                                                                UTC        Site           Published      Registered   Registration
 1         Info Hash:                                                            08-22-     Blacked        08-14-2021     08-23-2021   PA0002308398
           99B401EF43C97CAF422A844EE6F47AA6BA386983                              2021
           File Hash:                                                            18:05:35
           0B9F1C22533AC729FD3C3CC2361906D4D601EB1F476BE24E2C3B8F87A4B317BE
 2         Info Hash:                                                            08-17-     Blacked        08-09-2021     08-23-2021   PA0002308396
           4C79261B181D75613907F6EAA0407739765A4C41                              2021       Raw
           File Hash:                                                            00:33:53
           C0F3987DEBE7896C0352F415ABF59C81093E80B6255DC32745D86A32D0E7713B
 3         Info Hash:                                                            08-13-     Blacked        08-07-2021     08-23-2021   PA0002308431
           B2F126F4B0EA5D5D410A637C5F08BBC766ED3FC9                              2021
           File Hash:                                                            19:51:41
           DC3967F349C16CB672A65427E55F3A647024077E05DBBB59B92C9F9BA0E0E742
 4         Info Hash:                                                            07-27-     Tushy          07-25-2021     08-20-2021   PA0002312005
           0464F52E4618282CB5AC92DC1598BF8F6FC42C33                              2021
           File Hash:                                                            12:44:33
           B523C450EB2928EA9994BCB3777A078B86EF6B468B8C7A98ECB0F97B81EC3C75
 5         Info Hash:                                                            07-20-     Blacked        07-17-2021     08-02-2021   PA0002305089
           A26A87AF5F361AEC8F948B656DE6F94C5BEBEC70                              2021
           File Hash:                                                            12:36:47
           31B481E55B0B72BF59185DE8B74EAC639B61664ABA958DE6B16B0DF7C7E54AF7
 6         Info Hash:                                                            07-20-     Tushy          07-18-2021     08-02-2021   PA0002305087
           44D62AEE9A39AA86D5A29A04B367F778FCFEF2E5                              2021
           File Hash:                                                            12:36:43
           57D802B404AE2B7FC6726D41F55E9050CACB2E752E5662B6A35479DF44DE7188
 7         Info Hash:                                                            07-04-     Blacked        06-14-2021     08-02-2021   PA0002305094
           B1F1532CCFC32B5A55BC1FC5CFF2D7E7802A9BCA                              2021       Raw
           File Hash:                                                            17:46:01
           08CCE6F985F69EEA7C65F4E23207827E865DF2513807E26689DD01B6ED645401
 8         Info Hash:                                                            07-03-     Tushy          06-13-2021     06-24-2021   PA0002303160
           CAA0445E0E7EBF61187195A1E9C8ECF9E4E0E16A                              2021
           File Hash:                                                            16:59:03
           87A519E612FCE654E2E6199B9A19078B1B2328EE8CA7B9E2FDC273F41E5530DD
                               Case 1:21-cv-01707-JPW Document 1-2 Filed 10/06/21 Page 2 of 4

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         06-21-     Tushy     05-30-2021   06-24-2021   PA0002303168
       DA3AD31A777C4484BDE8A7B3196CC02BD13006E6                           2021
       File Hash:                                                         18:41:36
       BEBCFBFD77CA2285D3BFB1987858BD972F8BCF1F652C9603AD8AAD6A416DED84
10     Info Hash:                                                         06-09-     Vixen     05-21-2021   06-03-2021   PA0002299688
       1F4BC04D8EC80EBBC3E1AB4F453C400D1355626F                           2021
       File Hash:                                                         19:38:16
       6A53E0B152D167C64AFA6C98580D032B9346556BBC710AAFB5FCFED8FB47D465
11     Info Hash:                                                         06-09-     Blacked   05-17-2021   06-03-2021   PA0002299687
       4D8587046DBDB1EAA8987C0AEDE8C8E2D33D5201                           2021       Raw
       File Hash:                                                         19:37:21
       0FB9892C2F76FF3FBDD59906A779FD46CB167799C6056A0406EA24379398714F
12     Info Hash:                                                         06-01-     Tushy     05-16-2021   06-09-2021   PA0002295592
       4945F9FC1134BA7F1CD6CE7085C300E997CB8D3A                           2021
       File Hash:                                                         19:29:18
       069E9775F9743E72C39030C655EA1003AAF17DE491536062A8D52B9C041ED7AB
13     Info Hash:                                                         05-30-     Vixen     05-14-2021   06-03-2021   PA0002299686
       3D44B094F4EF6F6934D35B4D1B7332879F0C8F71                           2021
       File Hash:                                                         16:49:08
       B40F7BFC1A8932ADCDAFAB881E4D6E84218488CC78D5F18FA85FEA042ECC6203
14     Info Hash:                                                         05-19-     Tushy     05-02-2021   06-15-2021   PA0002296917
       6CD9225C1BDFE15D867B79C970E67796DA07AC3C                           2021
       File Hash:                                                         19:12:33
       B654D19503A5FCA233FFA06A8C454330CD55D82E1D1B37EB8DAD68EF1F5D9BCD
15     Info Hash:                                                         05-16-     Vixen     04-30-2021   06-03-2021   PA0002299685
       980856529FE2B0CA4CB328E3435C77D20833B6BE                           2021
       File Hash:                                                         16:34:22
       F81974D573968FAA06B4468C16023F5A98CF8B60DA6C3FB454746736781F6FF7
16     Info Hash:                                                         05-04-     Blacked   04-17-2021   06-09-2021   PA0002295585
       22478C1454D491C0C05C6CB46086C4E4CC0D5635                           2021
       File Hash:                                                         12:48:19
       21A3E8DEE623B88013E78B019C5BB8E6C6360358E68081C875D652020AD5FD46
17     Info Hash:                                                         04-28-     Blacked   04-12-2021   04-27-2021   PA0002288983
       52837DB32DB3C6111D0644324B0DC38B570CC875                           2021       Raw
       File Hash:                                                         18:17:50
       F5D43B4293E841C1705701B929D6246EC86EAF539F9CA169B5037A89C1ED85E4
                               Case 1:21-cv-01707-JPW Document 1-2 Filed 10/06/21 Page 3 of 4

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         04-28-     Blacked   04-10-2021   06-09-2021   PA0002295605
       FF20BDF23F04A2FC21DE1EBD6C8629ADF64B6248                           2021
       File Hash:                                                         18:16:44
       02A2D17061D20282FB5526660C8D3424BF1C51AD1AC861EAA1AB94BBF2E8E0E3
19     Info Hash:                                                         04-28-     Tushy     04-11-2021   04-27-2021   PA0002288948
       B998B7BDD041A7808D751C80B922943D169DCA90                           2021
       File Hash:                                                         18:16:23
       90C3C43060083796BF2F4730B6F8BEC9003AC66F7E40A7453C3792A1778E5035
20     Info Hash:                                                         04-02-     Tushy     03-14-2021   03-22-2021   PA0002282514
       351D869C5440EF8577A8CE2BE6391D2B59B3AADE                           2021
       File Hash:                                                         13:12:05
       D044D10640875D6E7D75C830EB2613AD8553831CA0CBECE175559DABE29252DF
21     Info Hash:                                                         04-02-     Blacked   03-15-2021   03-22-2021   PA0002282515
       1A1394CC6D58A1E86EBB7521BCE235161010C357                           2021       Raw
       File Hash:                                                         13:11:47
       AD468CA8031D3E3A3680F1268A7CDF31AD8C53E395C66DA879B8C211D3BA5CFF
22     Info Hash:                                                         03-16-     Tushy     02-28-2021   03-22-2021   PA0002282501
       7EDE652FF500B0C2E92FA2BA9863DC3ED5208EDA                           2021
       File Hash:                                                         00:12:34
       E056F23FC18FD619FAB77194358954804794BDF1A173CF9D4C1A22F94D178C2B
23     Info Hash:                                                         03-01-     Tushy     02-14-2021   03-08-2021   PA0002280366
       C5E2D2957C85AEF85E6DE825C13C203DF87BA57F                           2021
       File Hash:                                                         02:09:58
       41F17368762A71E497D6DB6FBD55BEEE103180B1035CB7E017F77AAC3FF0D427
24     Info Hash:                                                         02-27-     Blacked   02-13-2021   02-26-2021   PA0002283713
       28762847C82A90E772417F42C59CE0C39BBEE165                           2021
       File Hash:                                                         21:09:32
       4F5E9E0E11E4C06166F581F7E6719DD1E9D3DB561F994F8BD047F9AD7B9D4BED
25     Info Hash:                                                         02-05-     Blacked   01-02-2021   01-05-2021   PA0002269954
       2464E22DAC7C9AF5D8E3A47488D668E70E3BA2E1                           2021
       File Hash:                                                         18:23:00
       635FDEB8A6816EB373F54336D72820156E2CEF447ED29280AEEB38A4717F8364
26     Info Hash:                                                         01-11-     Tushy     01-10-2021   02-09-2021   PA0002276153
       A4E4EB589C6670EA637881D600C170F2C895A43F                           2021
       File Hash:                                                         00:03:51
       EB9E17DAE379436C5C320B4F6D686051E5E07DE9C5FF77B54FDDE8BF45A4900A
                               Case 1:21-cv-01707-JPW Document 1-2 Filed 10/06/21 Page 4 of 4

Work   Hashes                                                             UTC        Site    Published    Registered   Registration
27     Info Hash:                                                         01-11-     Vixen   01-08-2021   02-02-2021   PA0002280513
       04CF2901CDAEEDC6B4D011B0B8C3E65A18762337                           2021
       File Hash:                                                         00:03:02
       0AB77A3F0D46748F548CAE0998134F33480F2CDD519953D87B5BC127610AF68E
